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                                       OFFICE OF THE CLERK

PATRICIA S. DODSZUWEIT        UNITED STATES COURT OF APPEALS                   TELEPHONE
                                  21400 UNITED STATES COURTHOUSE              215-597-2995
         CLERK                           601 MARKET STREET
                                     PHILADELPHIA, PA 19106-1790
                                  Website: www.ca3.uscourts.gov

                                          May 29, 2025




Thomas Trotta
Lackawanna County Prison
1371 N Washington Avenue
Scranton, PA 18509


RE: USA v. Thomas Trotta
Case Number: 25-1599
District Court Case Number: 3:23-cr-00127-001

Dear Appellant:

The above case was docketed in the Court on March 28, 2025. At that time we
advised that you must either pay the docketing and filing fees to the district court or
complete and return the CJA Form 23 Financial Affidavit. The CJA Form 23
Financial Affidavit would be treated as a motion for appointment of counsel under the
provisions of the Criminal Justice Act. As of this date you have not complied.

We are enclosing a duplicate CJA Form 23 Financial Affidavit to be completed and
returned to this office no later than June 12, 2025. A completed copy of the form
must be sent to counsel for appellee.

Alternatively, the fees may be paid to the District Court as follows:

      $605.00 Notice of Appeal including Filing Fee

Failure to pay the docketing and filing fees or to complete and return the CJA Form
23 Financial Affidavit by June 12, 2025 will result in the issuance of an Order to
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Show Cause for failure to timely prosecute.


Very truly yours,
Patricia S. Dodszuweit, Clerk



By: s/Timothy, Case Manager
267-299-4953

cc: Carlo D. Marchioli, Esq.
